       Case 23-31198-sgj7          Doc 7 Filed 09/25/23 Entered 09/25/23 07:31:49                       Desc Order
                                    Approving Trustee Report Page 1 of 1




BTXN 112 (rev. 10/02)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Metroplex Spoilers, Inc                                      §    Case No.: 23−31198−sgj7
                                                             §    Chapter No.: 7
                                          Debtor(s)          §


          ORDER APPROVING TRUSTEE REPORT AND DISCHARGING TRUSTEE
      The Trustee appointed in the above listed case has filed the Trustee's Report. It is, therefore

      ORDERED that the trustee be discharged.



DATED: 9/25/23                                   FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/Sheniqua Whitaker, Deputy Clerk
